     Case 6:06-cr-00026-JRH-BKE Document 1662 Filed 09/28/16 Page 1 of 5




                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                       STATESBORO DIVISION

RAMON ANTONIO KELLi                )
                                   )
      Movant,                      )
                                   )
v.                                 )     Case No. CV616-128
                                   )               CR606-026
UNITED STATES OF AMERICA,          )
                                   )
      Respondent.                  )


                    REPORT AND RECOMMENDATION

      After pleading guilty to distribution of a controlled substance,

CR606-026, docs. 911 (plea agreement), 660 (judgment for 188 months’

imprisonment), Ramon Antonio Kelly took no appeal but now moves

under 28 U.S.C. § 2255 to reduce his sentence in light of a November 1,

2015 amendment to the Sentencing Guidelines’ “mitigating role”

adjustment. See doc. 1658; U.S.S.G. § 3B1.2. Preliminary § 2255 review

Rule 4 shows that his motion must be DENIED both as untimely and on

the merits.
       Case 6:06-cr-00026-JRH-BKE Document 1662 Filed 09/28/16 Page 2 of 5




         The Court entered judgment against movant on December 11,

2007, doc. 660, and § 2255(f) 1 gave him one year from the date his

conviction became final to seek § 2255 relief. He failed to file a timely

appeal, 2 so his conviction became final and § 2255(f)’s one-year clock

began to tick on December 25, 2007. He did not file the present § 2255

motion, however, until September 16, 2016, which is nearly nine years

too late. Doc. 1658. Kelly offers no explanation for the delay. 3 Hence,

his motion is time-barred unless he can show an exception, like a new

rule of law retroactively available to him. See 28 U.S.C. § 2255(f).

1
    As described in the statute, the one-year limitation period runs from the latest of:
      (1) the date on which the judgment of conviction becomes final;
      (2) the date on which the impediment to making a motion created by
      governmental action in violation of the Constitution or laws of the United
      States is removed, if the movant was prevented from making a motion by such
      governmental action;
      (3) the date on which the right asserted was initially recognized by the
      Supreme Court, if that right has been newly recognized by the Supreme Court
      and made retroactively applicable to cases on collateral review; or
      (4) the date on which the facts supporting the claim or claims presented could
      have been discovered through the exercise of due diligence.
28 U.S.C. § 2255(f).
2
 See Fed. R. App. P. 4(b)(1)(A)(i) (defendants must notice their appeals within 14
days from the entry of judgment); see also doc. 1658 at 2-3 (admitting he did not
appeal his conviction).
3
 “The statute of limitations can be equitably tolled where a petitioner untimely files
because of extraordinary circumstances that are both beyond his control and
unavoidable even with diligence.” Kicklighter v. United States , 281 F. App’x 926, 930
(11th Cir. 2008) (quoting Outler v. United States , 485 F.3d 1273, 1280 (11th Cir.
2007)).
                                           2
    Case 6:06-cr-00026-JRH-BKE Document 1662 Filed 09/28/16 Page 3 of 5




      Even were Kelly’s claim not time-barred, it would still be denied

because nothing in Amendment 794 entitles him to resentencing. That

amendment merely “clarified the factors to consider for a minor-role

adjustment” -- it did not substantively change § 3B1.2. United States v.

Casas, 632 Fed. App’x 1003, 1004 (11th Cir. 2015); Sapp v. United States ,

2016 WL 4744159 at *1 (S.D. Ga. Sept. 12, 2016); see also United States

v. Quintero-Leyva , 823 F.3d 519, 523 (9th Cir. 2016) (Amendment 794

may be applied retroactively on direct appeals). Indeed, the Sentencing

Commission specifically explained that Amendment 794 is intended only

as a clarifying amendment. U.S.S.G. Supp. App. C, Amend. 794 (Reason

for Amend.) (“This amendment provides additional guidance to

sentencing courts in determining whether a mitigating role adjustment

applies”).

      “The threshold inquiry,” therefore, “is whether [Kelly’s] claim that

his sentence is contrary to a subsequently enacted clarifying amendment

is cognizable under § 2255.” Burke v. United States , 152 F.3d 1329, 1331

(11th Cir. 1998). See, e.g., Jacobs v. United States , 2016 WL 4183312 at

* 1 (S.D. Ga. Aug. 5, 2016); Knight v. United States , 2016 WL 4082701

(S.D. Ga. Jul. 29, 2016).    Burke confirms that § 2255 relief is not

                                     3
    Case 6:06-cr-00026-JRH-BKE Document 1662 Filed 09/28/16 Page 4 of 5




available to Kelly. In both cases, the movants did not appeal. Burke , 152

F.3d at 1331. After sentencing, the Sentencing Commission added a

clarifying amendment to the Guidelines, and the petitioners moved

under § 2255 to modify their sentences based on the change.                Id . Yet

because “§ 2255 is not a substitute for direct appeal,” nonconstitutional

claims such as clarifying amendments to the Guidelines “can be raised on

collateral review only when the alleged error constitutes a ‘fundamental

defect which inherently results in a complete miscarriage of justice [or]

an omission inconsistent with the rudimentary demands of fair

procedure.’” Id. (quoting Reed v. Farley , 512 U.S. 339, 348 (1994)).

      “Insofar as amendment [794] is a clarifying amendment effecting

no change in the substantive law,” Kelly “was afforded the opportunity

to” challenge the denial of a minor role adjustment “at his original

sentencing and on direct appeal.” Id . at 1332. He never did. 4 The record

also does not reflect any objection to the Guidelines sentence calculation.

“Considering all of the circumstances, [the Court] cannot say that the

alleged misapplication of the sentencing guidelines in this case was


4
 After he pled guilty to a drug conspiracy, the Court sentenced Kelly to 188 months’
imprisonment. Doc. 660 at 1-2. He never appealed, and nothing in the record reveals
an objection to his Guidelines sentence calculation.
                                         4
    Case 6:06-cr-00026-JRH-BKE Document 1662 Filed 09/28/16 Page 5 of 5




fundamentally unfair or that it constituted a miscarriage of justice

sufficient to form the basis for collateral relief.” Id .

      Accordingly, Kelly’s § 2255 motion should be DENIED . Applying

the Certificate of Appealability (COA) standards set forth in Brown v.

United States , 2009 WL 307872 at * 1-2 (S.D. Ga. Feb. 9, 2009), the

Court discerns no COA-worthy issues at this stage of the litigation, so no

COA should issue either. 28 U.S.C. § 2253(c)(1); Rule 11(a) of the Rules

Governing Habeas Corpus Cases Under 28 U.S.C. § 2254 (“The district

court must issue or deny a certificate of appealability when it enters a

final order adverse to the applicant”) (emphasis added).

      SO REPORTED AND RECOMMENDED, this 27th day of

September, 2016.




                                 L1N1TED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA




                                        5
